 Case 7:16-cv-00108-O Document 118 Filed 09/20/18   Page 1 of 1 PageID 2913
                                                                 FILED
                                                         September 20, 2018
                  United States Court of Appeals            KAREN MITCHELL
                                FIFTH CIRCUIT           CLERK, U.S. DISTRICT COURT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE
                                                          NEW ORLEANS, LA 70130



                          September 20, 2018
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 17-10135    Franciscan Alliance, Inc., et al v. Norris
                      Cochran, Acting Secy, et al
                      USDC No. 7:16-CV-108

The court has granted the motion to withdraw David Nimocks as
counsel in this case.   Heather Hacker will now proceed as lead
counsel for Texas and the other State Appellees in this case.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk

                                 By: _________________________
                                 Shawn D. Henderson, Deputy Clerk
                                 504-310-7668
Ms.   Brigitte Adrienne Amiri
Ms.   Stephanie Hall Barclay
Mr.   Joshua A. Block
Mr.   Luke William Goodrich
Ms.   Heather Gebelin Hacker
Mr.   Brian Hauss
Mr.   Daniel Mach
Ms.   Amy Miller
Ms.   Karen S. Mitchell
Mr.   David Austin Robert Nimocks
Ms.   Rebecca L. Robertson
